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                   UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RANDE MASTEN,

               Plaintiff,
      v.                                Case No.: 2:12-cv-3498-JHS

NCO FINANCIAL SYSTEMS, INC.

               Defendant.



                            SATISFACTION OF JUDGMENT

      Kindly mark the judgment and demand for fees and costs in this matter as

SATISFIED. It is certified that there are no outstanding executions with any

Sheriff or Marshall.

      THEREFORE, full and complete satisfaction of said judgment is hereby

acknowledged and the Clerk of Courts is hereby authorized and directed to make

an entry of the full and complete satisfaction on the docket of said judgment.



      Dated: December 7, 2012                /S/ Craig Thor Kimmel
                                             Craig Thor Kimmel
                                             Attorney ID: 57100
                                             Kimmel & Silverman, P.C.
                                             30 E. Butler Pike
                                             Ambler, PA 19002
                                             Phone: (215) 540-8888
                                             Fax: (215) 540-8817
                                             Email: kimmel@creditlaw.com
                                             Attorney for Plaintiff
